

People v Garnerlawery (2024 NY Slip Op 06549)





People v Garnerlawery


2024 NY Slip Op 06549


Decided on December 24, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 24, 2024

Before: Kern, J.P., Singh, Gesmer, Pitt-Burke, O'Neill Levy, JJ. 


Ind. No. 2096/17 Appeal No. 3303 Case No. 2020-02044 

[*1]The People of the State of New York, Respondent,
vYael Garnerlawery, Also Known as Loryn Gardner, Appellant.


Twyla Carter, The Legal Aid Society, New York (Isabel Patkowski of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Margaret Crookston of counsel), for respondent.



Judgment, Supreme Court, New York County (Michael Obus, J., at plea; Steven M. Statsinger, J., at sentencing), rendered June 19, 2019, convicting defendant, upon his plea of guilty, of assault in the first degree, and sentencing him to a term of five years to be followed by 3½ years of postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers, we vacate the surcharge and fees imposed on defendant at sentencing (see People v Chirinos, 190 AD3d 434 [1st Dept 2021]). We note that the People do not oppose this relief.
We perceive no basis for reducing defendant's term of postrelease supervision.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 24, 2024








